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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-730-CKK
        v.                                   :
                                             :
DANEAN MACANDREW,                            :
                                             :
                Defendant                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. Defendant Danean MacAndrew (“MacAndrew”) unlawfully entered

the Capitol in the midst of a deadly riot on January 6, 2021. As explained below, the government

requests that this Court sentence MacAndrew to 13 months’ incarceration, 12 months’ supervised

release, and restitution of $500.

   I.        Introduction

        MacAndrew is 55 years old and is self-employed selling old-time radio shows. On January

6, 2021, MacAndrew participated in the attack on the United States Capitol—a violent attack that

forced an interruption of Congress’s certification of the 2020 Electoral College vote count,

threatened the peaceful transfer of power after the 2020 Presidential election, injured more than

one hundred police officers, and resulted in more than $2.8 million in losses.

        After a bench trial, Judge Kollar-Kotelly convicted MacAndrew of violating 18 U.S.C. §

1752(a)(1): entering and remaining in a restricted building; 18 U.S.C. § 1752(a)(2): disorderly and

disruptive conduct in a restricted building; 40 U.S.C. § 5104(e)(2)(D): disorderly and disruptive

conduct in a Capitol building; and 40 U.S.C. § 5104(e)(2)(G): parading, picketing, and

demonstrating in a Capitol building. As explained herein, a sentence of 13 months’ incarceration

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is appropriate in the instant case because: to enter restricted Capitol grounds, MacAndrew climbed

over a small wall with the assistance of another rioter, passing downed barricades and fencing and

an “Area Closed” sign; before entering the Capitol building, MacAndrew passed officers in rioter

gear and photographed rioters in gas masks, helmets, and reeling from pepper spray; MacAndrew

saw at least three rioters exit the Capitol building having been pepper sprayed, but instead of

turning around she covered her face with a scarf and entered the building anyway, filming the

damaged doorframe and ignoring blaring alarms; MacAndrew ignored police instructions telling

rioters to leave the Capitol building and instead stayed inside the building filming the officers and

other rioters; MacAndrew stayed on restricted Capitol grounds at least another 40 minutes after

leaving the Capitol building, filming as an angry mob continued to harass and yell at officers;

MacAndrew celebrated January 6th on social media after the fact, calling it “an amazing day” of

“patriotism” and “unity”; MacAndrew provided false and misleading testimony during trial

asserting that she thought it was lawful to enter the Capitol building and its grounds on January 6,

2021; and MacAndrew has shown no remorse for her actions.

         The Court must also consider that MacAndrew’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers who were trying to prevent a breach of the Capitol building, and

disrupted the proceedings. The facts of and circumstances of MacAndrew’s crimes, as described

below, support a sentence of 13 months’ incarceration, towards the middle of the estimated

Guidelines range for Counts 1 and 2.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol




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       To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 1 Attachment 1 (Statement of Facts), at 1-2.

               Defendant MacAndrew’s Role in the January 6, 2021 Attack on the Capitol

       On January 4, 2021, MacAndrew traveled from California to Washington, D.C. to attend

the Stop the Steal Rally, scheduled for January 6, 2021, at the White House Ellipse. MacAndrew

came to Washington, D.C. to protest what she described as “abnormalities” in the 2020 Presidential

Election. Trial Tr. (1/10/2023) at 174. MacAndrew testified that, on January 6, 2021, she waited

in line for several hours and underwent security screenings to enter the White House Ellipse. Id.

at 179. Security at the Rally required MacAndrew and other protestors to leave their backpacks

with security officials before entering the White House Ellipse. Trial Tr. (1/11/23) at 209, 222.

This is relevant because mere hours later, MacAndrew entered the U.S. Capitol building without

undergoing any security screenings. Id. at 222. Given this and the surrounding circumstances,

MacAndrew knew her presence was unlawful in and around the Capitol building.

       MacAndrew left the Stop the Steal Rally and joined other protestors to march to the U.S.

Capitol. According to MacAndrew, the protest at the Capitol was a “continuation” of the protest

at the White House Ellipse. Trial Tr. (1/10/23) at 183. MacAndrew described the scene at the

Capitol as “strange,” id. at 184, 186, and as if police were prepared for “something to go wrong.”

Id. at 186. She admitted that she saw individuals scaling the walls on the West Front of the Capitol.

Id. at 184. She believed that only Congress could fix the abnormalities leading to the “stolen

election.” Trial Tr. (1/11/23) at 207. She understood that Congress was likely in session while she

was in and around the Capitol. Id. at 242. These circumstances show that MacAndrew intended

her presence to disrupt Congress and stop the certification of the 2020 Presidential Election.




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        At 2:34 p.m., MacAndrew was on restricted Capitol grounds. She stood on the West Lawn

of the Capitol with other rioters. Gov.’s Ex. 414; Image 1 (MacAndrew is highlighted by a red

circle). She and the other rioters observed a long line of officers dressed in riot gear. Id. The rioters

harassed the officers, screamed at them, and filmed them as the officers tried to position themselves

to protect the Capitol. MacAndrew wore a black jacket, red cap, and jeans, and held her Trump

flag as she watched the police with the other rioters. Id.




                 ]

                           Image 1: Still from Government’s Exhibit 414

        At about 2:40 p.m., MacAndrew paraded across restricted Capitol grounds, her flag in

hand, toward a path on the northeastern side of the Capitol. Gov.’s Ex. 425. This path led

MacAndrew even closer to the Capitol building itself. MacAndrew climbed over the wall of the

pathway, with assistance from a rioter, who was wearing a helmet. Id. By doing so, MacAndrew

climbed over downed barricades and snow fencing that the police had put up earlier to demarcate

the restricted grounds. Gov.’s Ex. 425; Image 2. (In Images 2, 4, and 5, MacAndrew is indicated

with an orange or red arrow.) An “Area Closed” sign was affixed to one of the downed barricades

MacAndrew climbed over. Gov.’s Ex. 425; Image 3 (downed barricades with “Area Closed” sign

highlighted by a red box).



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                         Image 2: Still from Government’s Exhibit 425




                         Image 3: Still from Government’s Exhibit 425

       MacAndrew lingered on the northeastern pathway for a few minutes, taking photos. Id. A

group of Metropolitan Police Department (“MPD”) officers in riot gear passed through that very

path moments later. She marched up that pathway and climbed the flight of stairs to the landing,

shoulder to shoulder with the officers. Id.; Image 4 (MacAndrew highlighted by a red arrow). As

she paraded toward the northwest courtyard of the Capitol, she flew her Trump flag. She marched


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by more barricades with an “Area Closed” sign and with officers in riot gear positioned behind

them. Gov.’s Ex. 426; Image 5 (the “Area Closed” sign is highlighted by a yellow circle).




                          Image 4: Still from Government’s Exhibit 425




                          Image 5: Still from Government’s Exhibit 426

       MacAndrew eventually made her way to the northwest courtyard of the Capitol. Here, she

took photos of rioters in gas masks, helmets, and even rioters suffering from the effects of pepper

spray. Gov.’s Ex. 11; Image 6 (photograph MacAndrew took of pepper-sprayed rioters leaving the




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Capitol building). She testified that she also saw three rioters exit the door to her left, the

Parliamentarian Door, also having been pepper sprayed. Trial Tr. (1/11/23) at 196.




                         Image 6: Screenshot of Government’s Exhibit 11

        MacAndrew continued onwards and entered the Capitol building through the Senate Wing

Doors at 3:08 p.m. Shortly before entering, MacAndrew rolled up her Trump flag and covered her

face with her red scarf to protect herself from pepper spray. Trial Tr. (1/11/23) at 198, 223.

        MacAndrew filmed her breach into the Capitol building. Before she even crossed the

threshold, she captured the condition of the doorframe on cell phone video—the door had been

knocked off its hinges, nails protruding from its frame. Gov.’s Ex. 424; Image 7 (screenshot of a

video MacAndrew took as she entered the Capitol building). In the video, alarms blared from

inside the Capitol building. Upon entering, MacAndrew saw a line of riot police to her left,

unarmored police directly in front of her, destroyed furniture, and a mob of rioters chanting “USA,

USA!”



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                          Image 7: Still from Government’s Exhibit 424

       In another one of MacAndrew’s videos, she talked about getting pepper sprayed, saying

“They’re gassing us, they’re gassing us” as the rioters around her coughed. Gov.’s Ex. 424. She

lingered in the area around the Senate Wing Door for several more minutes, filming members of

the mob jumping in and out of broken windows. Gov.’s Ex. 424; Image 8 (screenshot from a video

MacAndrew took from inside the Capitol building). She even heard a fellow rioter’s warning of

an imminent SWAT presence. Gov.’s Ex. 424. United States Capitol Police began trying to funnel

the rioters out of the Senate Wing Door area. They corralled the rioters closer to the exit and told

the rioters to leave. MacAndrew did not leave right away. She stood around, filming the officers

and the rioters on her cell phone before finally exiting the Capitol building, at around 3:17 p.m. Id.




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                               Image 8: Still from Government’s Exhibit 424

       Though MacAndrew left the Capitol building, she stayed on restricted grounds for at least

another 40 minutes. She lingered around the northwest courtyard, filming a large group of MPD

officers dressed in riot gear. Exhibit 428; Image 9 (screenshot from a video MacAndrew took on

Capitol grounds). She stood around again as the angry mob continued to harass and yell at officers

for doing their duty that day. Id.




                           Image 9: Still from Government’s Exhibit 428




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       The government also presented evidence of MacAndrew’s state of mind before and after

the events of January 6, 2021. On January 5, 2021, MacAndrew tweeted, “Traps set again at

another #RiggedElection.” Gov.’s Ex. 114. Additionally, on January 6, 2021, former President

Donald Trump tweeted, “Please support our Capitol Police and Law Enforcement. They are truly

on the side of our Country. Stay peaceful!” Former President Donald Trump authored this Tweet

at 2:38 p.m., before MacAndrew entered the Capitol building. In response, at 4:23 p.m., after she

exited the Capitol building, MacAndrew tweeted, “I respectfully disagree, Sir. Capitol Police were

pepperspraying Patriots before the building was breached by infiltrators. Not cool.” Gov.’s Ex.

124. MacAndrew’s Tweets shows that she had first-hand knowledge of the conflict between the

rioters and officers on January 6 and an understanding of why she was at the Capitol on January

6—a “rigged election.”

       Notwithstanding the violence and chaos on January 6th, MacAndrew celebrated the events

of the day and continued to promote that the election was stolen on social media. On Gab, she

posted, “January 6th in DC was an amazing day. I will remember it forever for the friendships

made, the easy conversations, the patriotism, the brotherhood, the unity and the excitement that

filled the brisk air.” Gov.’s Ex. 102; Image 10 (screenshot of MacAndrew’s January 17, 2021 Gab

post). Finally, on July 12, 2021, MacAndrew posted a photograph of the large crowd at the Stop

the Steal Rally with the following caption: “This is the real image of 1/6 that we need to hold on

to. Trump won. We are the majority. Don’t let anyone convince you otherwise.” Gov.’s Ex. 136;

Image 11 (screenshot of MacAndrew’s July 12, 2021 Telegram post). These social media posts—

along with everything MacAndrew did, saw, and heard on January 6—are evidence that she knew

her presence at the Capitol was unlawful and that her intended presence at the Capitol was to

disrupt Congress. In addition, these social media posts show that MacAndrew did not display any



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remorse for the events of January 6th and continued to promote her belief that the 2020 Presidential

Election was stolen.




                           Image 10: Screenshot of Government’s Exhibit 102




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                       Image 11: Screenshot of Government’s Exhibit 136

                                 MacAndrew’s Trial Testimony

       MacAndrew testified at trial and made several false and misleading statements. She

maintained that she thought it was lawful to enter the Capitol building and its grounds. But the

Government proved that MacAndrew had many opportunities to observe “Area Closed” signs: she

climbed over an “Area Closed” sign affixed to the down snow fencing/barricades leading to the

northeastern pathway and passed “Area Closed” signs as she marched north towards the northwest

courtyard. The Court noted in the findings of fact as part of the Guilty verdicts, that MacAndrew’s

“suspicions undoubtedly started when, contrary to her testimony, she passed ‘Area Closed’ signs

affixed to strewn fencing.” ECF 59, p. 2 (emphasis added).

       MacAndrew also admitted seeing rioters scaling walls to advance further into the Capitol

building and its grounds. Trial Tr. (1/11/23) at 220. And before she entered the Capitol building,

she saw at least three people exit the Parliamentarian Door who were suffering from the effects of

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pepper spray, id. at 196; she herself took many photos of a rioter suffering from pepper spray,

Gov.’s Exs. 10, 11, 12; Trial Tr. (1/11/23) at 219. She also filmed her entry, which captured an

earsplitting alarm as well as the broken door frame of the Senate Wing Door. Gov.’s Ex. 424.

MacAndrew admitted that those alarms never ceased throughout her time in the Capitol building.

Trial Tr. (1/11/23) at 223-24.

       Conveniently, MacAndrew testified on redirect that she did not recall seeing the nails

sticking out of the doorframe of the Senate Wing Door or shattered glass, Trial Trans. (1/11/23) at

229; did not recall seeing any “Area Closed” signs on Capitol grounds, id. at 231; did not recall

seeing bike racks and snow fencing, id. at 231; had no recollection of the large, white umbrella

that was strewn on its side on the northeast pathway, id.; and had no recollection of the insults and

threatening language other rioters hurled toward law enforcement, id. She testified that she thought

she was allowed to enter the Senate Wing Door, but not the Parliamentarian Door, because at least

three people who had exited through the Parliamentarian Door were suffering from pepper spray.

Id. at 233. MacAndrew rightly acknowledged that this “sound[ed] ridiculous based on their

proximity to one another[.]” Id.

       MacAndrew testified on direct examination that as she approached the Senate Wing Door,

she “was not positive” that she was allowed to go in, but as soon as she saw Capitol Police inside

the Senate Wing Door area, then she thought she was “for sure” permitted to enter. Id. at 204. On

cross-examination, MacAndrew gave a contradictory answer:

       Q: You said you weren’t positive that you could enter the Capitol.
       A: Yes.
       Q: Correct? But you –
       A: Correct
       Q: --entered anyway?
       A: Yes.




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Id. at 222. Yet on redirect, when asked whether she believed she had a right to enter the Capitol

building, MacAndrew answered, “I thought I was allowed.” Id. at 234-35.

       Before entering the Capitol, MacAndrew covered her face with her red scarf because, she

admitted, there was a possibility she could have been pepper sprayed. Trial Tr. (1/11/23) at 223.

MacAndrew admitted filming several rioters exiting and entering the Senate Wing Door area

through shattered windows and acknowledged that one cannot “enter the Capitol through broken

windows.” Id. at 224-25. And she admitted passing by broken furniture strewn on the ground of

the Senate Wing Door area. Id. at 225. Notably, MacAndrew testified to the security measures she

had to undertake at the Stop the Steal Rally: standing in a security line, going through a security

screening, and dropping off her bag with security. Id. at 209. But she acknowledged that she did

not undergo any security screenings at the Capitol grounds or Capitol building, unlike the

screenings she adhered to before entering the White House Ellipse. Id. at 222. As the Court noted

in its findings, it strained “credulity to accept than an individual who just hours earlier had to pass

through security to see then-President Trump speak outside thought it was unnecessary to pass

through security to enter the United States Capitol with her backpack while she believed Congress

was in session.” ECF 59 at 9-10.

       Finally, MacAndrew also testified at trial that she did not know whether it was the police

or “counter protestors” who pepper sprayed fellow rioters. Trial Tr. (1/11/23) at 243. When asked

if she saw any counter protestors, MacAndrew replied, “I couldn’t tell.” Id. Yet, on January 6,

2021, MacAndrew stated on Twitter that it was, in fact, the police deploying pepper spray. Gov.’s

Ex. 124. MacAndrew also testified that those who were pepper sprayed may have been bad actors,

but in the same tweet, she identified those people as “Patriots.” Id.




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                                           The Charges

          On November 12, 2021, the United States charged MacAndrew by criminal complaint with

violating 18 U.S.C. § 1752(a)(1): entering and remaining in a restricted building; 18 U.S.C.

§ 1752(a)(2): disorderly and disruptive conduct in a restricted building; 40 U.S.C. § 5104(e)(2)(D):

disorderly and disruptive conduct in a Capitol building; and 40 U.S.C. § 5104€(2)(G): parading,

picketing, and demonstrating in a Capitol building. On December 1, 2021, FBI agents arrested

MacAndrew at the FBI field office in Orange County, California. On March 10, 2022, the United

States charged MacAndrew by a Superseding Information with the same four charges. A bench

trial was held from January 10-12, 2023; and on January 17, 2023, MacAndrew was convicted of

all four Counts in the Superseding Information.

   III.      Statutory Penalties

          MacAndrew faces up to one year of imprisonment and a fine of up to $100,000 on each of

the first two counts of the Superseding Information: 18 U.S.C. § 1752(a)(1), entering and

remaining in a restricted building; and 18 U.S.C. § 1752(a)(2), disorderly and disruptive conduct

in a restricted building. MacAndrew also faces an additional six months of imprisonment and a

fine of up to $5,000 on each of the second two counts of the Superseding Information: 40 U.S.C.

§ 5104(e)(2)(D), disorderly and disruptive conduct in a Capitol building; and 40 U.S.C. §

5104(e)(2)(G) parading, picketing, and demonstrating in a Capitol building. MacAndrew may also

be ordered to pay restitution as discussed further below.

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.



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The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

       The government agrees with the Sentencing Guidelines calculation set forth in the PSR.

According to the PSR, the U.S. Probation Office calculated MacAndrew’s adjusted offense level

under the Sentencing Guidelines as follows:

       Count 1 Base Offense Level (U.S.S.G. §2B2.3(a))                      +4
       Trespass at Restricted Building (U.S.S.G. §2B2.3(b)(1)(A))           +2
       Obstructing the Administration of Justice (U.S.S.G. §3C1.1(a))       +2
       Total Adjusted offense Level                                         =8

       Count 2 Base Offense Level (U.S.S.G. §2A2.4)                         +10
       Obstructing the Administration of Justice (U.S.S.G. §3C1.1(a))       +2
       Total Adjusted Offense Level                                         =12

See ECF 69, Presentence Investigation Report (“PSR”) ¶¶ 40, 45-53.

       The government agrees with the U.S. Probation Office that the base offense level for Count

2 is 10. There is no applicable Chapter Two Guideline for this offense in the Statutory Appendix,

so “the most analogous guideline” must be applied. U.S.S.G. §2X5.1. Here, that is U.S.S.G.

§2A2.4, “Obstructing or Impeding Officers.”

       The government also agrees with the U.S. Probation Office’s application of U.S.S.G. §

3C1.1 for MacAndrew’s obstruction of justice based on MacAndrew’s materially false and

misleading testimony during trial.

       Pursuant to U.S.S.G. § 3D1.2, “[a]ll counts involving substantially the same harm shall be

grouped together into a single Group.” Specifically, when counts involve the same victim and two

or more acts or transactions connected by a common criminal objective, those counts should group.

U.S.S.G. § 3D1.2(b). Accordingly, Counts One and Two should group here, as they involve the

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same victim, Congress, and two or more acts or transactions connected by a common criminal

objective or constituting part of a common scheme or plan. See PSR ¶ 43. Under U.S.S.G. §

3D1.3(a), for offenses that group pursuant to U.S.S.G. § 3D1.2(a)-(c), the combined offense level

for the Group is the highest offense level of the counts in the Group, and so here the Group’s

offense level is 12. The government agrees with the U.S. Probation Office’s calculation of

MacAndrew’s criminal history as a category I. See PSR ¶ 56. But the government disagrees with

paragraph 102 of the PSR regarding the calculation of MacAndrew’s statutorily authorized

maximum sentence. The PSR inaccurately applies U.S.S.G. § 5G1.1(a) and states that “where the

statutorily authorized maximum sentence is less than the minimum of the applicable guidelines

range, the statutorily authorized maximum sentence shall be the guidelines range.” Id. ¶ 102. The

PSR states, therefore, that the applicable guidelines range is 10-12 months. Id.

       However, U.S.S.G. § 5G1.1 does not apply to cases where there is more than one count of

conviction. Since there are multiple counts of conviction here to which the Guidelines apply (the

two 18 U.S.C. § 1752 counts), the Court should instead apply § 5G1.2. Furthermore, under

U.S.S.G. § 5G1.2(d), where there are multiple counts of conviction, and where the Guidelines

range is higher than the statutory maximum for any single count, the Court may impose

consecutive or partially consecutive sentences on more than one count to get a total sentence of

confinement that is within the Guidelines range, which, here, is 10-16 months. Accordingly,

MacAndrew’s total adjusted offense level is 12 and her corresponding Guidelines imprisonment

range is 10-16 months.

       Here, while the Court must consider the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged numerous persons with crimes based on the January 6 riot.


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This includes hundreds of felonies and misdemeanors that will undergo Guidelines analysis. To

reflect Congress’s will—the same Congress that served as a backdrop to this criminal incursion—

the Guidelines are a powerful driver of consistency and fairness.

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. In this case, as described below, the

Section 3553(a) factors weigh in favor of 13 months’ incarceration, 12 months’ supervised release,

and restitution of $500.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing

MacAndrew’s participation in that attack to fashion a just sentence, this Court should consider

various aggravating and mitigating factors. Notably, for a misdemeanor defendant like

MacAndrew, the absence of violent or destructive acts is not a mitigating factor. Had MacAndrew

engaged in such conduct, she would have faced additional criminal charges.

         One of the most important factors in MacAndrew’s case is that she ignored numerous, clear

signs that she was not welcome inside the Capitol or on its grounds and, instead of turning away,

she breached the Capitol building. Moreover, she incredibly testified at trial that she thought it was

lawful to enter the Capitol building and its grounds. Disturbingly, in the aftermath of January 6th,

MacAndrew continued to promote on social media her belief that the 2020 Presidential Election



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was stolen and celebrated the events of January 6th. Accordingly, the nature and the circumstances

of this offense establish the clear need for a sentence of incarceration.

            B. The History and Characteristics of MacAndrew

         MacAndrew does not have a criminal history. MacAndrew reported to Probation that she

attended Carnegie Mellon University in Pittsburgh, Pennsylvania from 1996 to 1999, where she

earned her master’s degree. PSR ¶ 76. At trial, MacAndrew testified that she earned her master’s

degree in Psychology. Trial Tr. (1/11/23) at 236. MacAndrew reported that she has been self-

employed at TheRadioLady.com since November 2000. PSR ¶ 80.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don't think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




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       General Deterrence

        The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

       General deterrence is an important consideration because many rioters intended that their

attack on the Capitol would disrupt, if not prevent, one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. The gravity of these offenses

demands deterrence. See United States v. Mariposa Castro, 1:21-cr-00299 (RBW), Tr. 2/23/2022

at 41-42 (“But the concern I have is what message did you send to others? Because unfortunately

there are a lot of people out here who have the same mindset that existed on January 6th that caused

those events to occur. And if people start to get the impression that you can do what happened on

January 6th, you can associate yourself with that behavior and that there's no real consequence,

then people will say why not do it again.”). This was not a protest. See United States v. Paul

Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be made

defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       MacAndrew has taken no responsibility, nor shown any remorse, for her actions on January

6, 2021. MacAndrew openly ignored clear indicators not to approach restricted Capitol grounds or



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enter the Capitol building, and she remained there for at least an hour and a half while property

damage and violence were going on around her. Yet at trial, MacAndrew made several false and

misleading statements by maintaining that she thought it was lawful to enter the Capitol building

and its grounds. In addition, in the aftermath of January 6th, MacAndrew celebrated the events of

January 6th and promoted her continued belief that the 2020 Presidential Election was stolen.

MacAndrew’s lack of remorse, and her false testimony about her intent and motivations, make

clear that she presents a risk of repeating this conduct in the future if she faces a political outcome

she does not like or support. The government’s recommended term of incarceration is necessary

to specifically deter MacAndrew from any such future crimes, to impress upon her the gravity of

her crimes, and to promote respect for the law.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress.1 This

Court must sentence MacAndrew based on her own conduct and relevant characteristics, but

should give substantial weight to the context of her unlawful conduct: her participation in the

January 6 riot.

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully


1
  A routinely updated table detailing the sentences imposed on other Capitol breach defendants is
available here: https://www.justice.gov/usao-dc/capitol-breach-cases. To reveal that table, click on
the link “SEE SENTENCES HANDED DOWN IN CAPITOL BREACH CASES.” The table
shows that imposition of the government’s recommended sentence here would not result in an
unwarranted sentencing disparity.

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review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-

disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017). Consequently,

a sentence within the Guidelines range will ordinarily not result in an unwarranted disparity.

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing

disparities in Section 3553(a)(6) is “only one of several factors that must be weighted and

balanced,” and the degree of weight is “firmly committed to the discretion of the sentencing

judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of

the Section 3553(a) factors means that “different district courts may have distinct sentencing

philosophies and may emphasize and weigh the individual § 3553(a) factors differently; and every

sentencing decision involves its own set of facts and circumstances regarding the offense and the

offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “As the qualifier

‘unwarranted’ reflects, this provision leaves plenty of room for differences in sentences when

warranted under the circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). If anything, the

Guidelines ranges in Capitol siege cases are more likely to understate than overstate the severity



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of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP), Aug. 26, 2022 Sent.

Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the seriousness of [the

defendant’s] conduct because it does not consider the context of the mob violence that took place

on January 6th of 2021.”) (statement of Judge Pan).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors, the sentences in the following cases provide suitable comparisons to the relevant

sentencing considerations here.

       In United States v. Russel Alford, 1:21-CR-00263 – TSC, Alford was convicted of the same

four misdemeanor offenses following a jury trial. The evidence showed that Alford posted on

Facebook in the days and weeks leading up to January 6, claiming that the 2020 presidential

election was rigged, indicating he purposefully engaged in unlawful behavior on January 6

intending to stop the Congressional certification. Alford entered through the Upper House door,

through doors and windows that had been broken open by previous rioters. Police in riot gear were

nearby and an alarm blared throughout Alford’s time in the building and despite MPD’s attempt

to remove rioters from the building, Alford continued on. Alford, like MacAndrew, celebrated his

participation in the riot on social media and demonstrated a lack of candor and honesty in his trial

testimony. Like MacAndrew, Alford engaged in no violence in the Capitol and was not inside the

building for a long period of time. Alford was convicted of the same four charges of which

MacAndrew stands convicted. The Government asked the Court to sentence Alford to 13 months’

incarceration, the middle of the Guidelines range of 10 to 16 months. The Court sentenced Alford

to 12 months’ incarceration, followed by 12 months’ supervised release.



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       In United States v. Rivera, No. 1:21-cr-0060-CKK, Rivera was convicted of four

misdemeanor offenses after a bench trial. See Findings of Fact and Conclusions of Law, Rivera,

No. 1:21-cr-0060-CKK, ECF No. 62. The evidence showed that Rivera livestreamed his presence

in the Capitol and “[h]e urged his followers watching his Facebook livestream to share his

livestream with their friends and followers” and proclaimed he was “about to take [his] ass to the

middle of the [United] State[s] Capitol.” See Sentencing Memorandum, Rivera, No. 1:21-cr-0060

CKK, ECF No. 69 at 5. Rivera announced to his followers that MPD officers were firing pepper

spray at the rioters. Id. at 7. Rivera, like MacAndrew, saw rioters climbing a wall, and Rivera

shouted at them, “there’s an easier way up!” Id. Rivera, like MacAndrew, engaged in no violence

in the Capitol and left after around 20 minutes. Also in Rivera, as in this case, the defendant did

not express any remorse or contrition for his actions. Like MacAndrew’s statements after the

events of January 6th, Rivera told a friend a day after the riot that he “had a great time.” Id. at 17.

In contrast, Rivera did not take the stand at trial and did not otherwise qualify for the U.S.S.G.

§3C1.1(a) obstruction enhancement. Rivera was convicted of the same four charges of which the

defendant stands convicted. The Government recommended 9 months’ incarceration – the

midpoint of the 6 to 12-month Guidelines range in that case – and the court sentenced the defendant

to 8 months’ incarceration and 12 months of supervised release. Rivera, No. 1:21-cr-0060-CKK,

ECF. 82.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” and so

“different district courts may have distinct sentencing philosophies and may emphasize and weigh


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the individual § 3553(a) factors differently; and every sentencing decision involves its own set of

facts and circumstances regarding the offense and the offender.” United States v. Gardellini, 545

F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence differently—

differently from the Sentencing Guidelines range, differently from the sentence an appellate court

might have imposed, and differently from how other district courts might have sentenced that

defendant.” Id. at 1095.

           F. Restitution.

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110

Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases

involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The

MVRA applies to certain offenses including those “in which an identifiable victim or victims has

suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property … including any offense committed by fraud or

deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). Because MacAndrew was

convicted of a violation of an offense under Title 18, the VWPA does apply.


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       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court “shall”

impose restitution under the MVRA, “may” impose restitution under the VWPA, and “shall” use

the procedures set out in Section 3664).

       Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury., 639

F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes, the government

bears the burden by a preponderance of the evidence to establish the amount of loss suffered by

the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

       In deciding whether to impose restitution under the VWPA, the sentencing court must

consider the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full

restitution without respect to a defendant’s ability to pay.2

       Because this case involves the related criminal conduct of hundreds of defendants, the

Court has discretion to: (1) hold the defendants jointly and severally liable for the full amount of

restitution owed to the victim(s), see 18 U.S.C. § 3664(f)(1)(A) (requiring that, for restitution

imposed under § 3663, “the court shall order restitution to each victim in the full amount of each

victim’s losses as determined by the court and without consideration of the economic



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  Both statutes permit the sentencing court to decline to impose restitution where doing so will
“complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
3663A(c)(3)(B).
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circumstances of the defendant”); or (2) apportion restitution and hold the defendant and other

defendants responsible only for each defendant’s individual contribution to the victim’s total

losses, 18 U.S.C. § 3664(h). That latter approach is appropriate here.

        More specifically, the Court should require MacAndrew to pay $500 in restitution for her

convictions on Counts One to Four. This amount fairly reflects MacAndrew’s role in the offense

and the damages resulting from his conduct. Moreover, when the parties have entered into a guilty

plea agreement, five hundred dollars has consistently been the agreed upon amount of restitution

and the amount of restitution imposed by judges of this Court where the defendant was convicted

of only misdemeanors and not directly and personally involved in damaging property.

Accordingly, such a restitution order avoids sentencing disparity.

   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 13 months’

incarceration, 12 months’ supervised release, and restitution of $500. Such a sentence protects the

community, promotes respect for the law, and deters future crime by imposing restrictions on her

liberty as a consequence of her behavior.




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                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            United States Attorney
                            D.C. Bar No. 481052

                      By:          /s/ Julie Bessler
                                   Julie Bessler
                                   PA Bar No. 328887
                                   Assistant United States Attorney
                                   United States Attorney’s Office
                                   601 D Street N.W.
                                   Washington, D.C. 20530
                                   Telephone: 202-809-1747
                                   Julie.Bessler@usdoj.gov


                                   Zachary Phillips
                                   CO Bar No. 31251
                                   Assistant United States Attorney
                                   United States Attorney’s Office, Detailee
                                   1801 California Street, Suite 1600
                                   Denver, CO 80202
                                   Telephone: 720-281-1611
                                   Zachary.phillips@usdoj.gov




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                               CERTIFICATE OF SERVICE

       On this 14 day of July, 2023 a copy of the foregoing was served upon all parties listed on
the Electronic Case Filing (ECF) System.


                                            By:     /s/ Julie Bessler
                                                    Julie Bessler
                                                    PA Bar No. 328887
                                                    Assistant United States Attorney
                                                    United States Attorney’s Office
                                                    601 D Street N.W.
                                                    Washington, D.C. 20530
                                                    Telephone: 202-809-1747
                                                    Julie.Bessler@usdoj.gov

                                                    Zachary Phillips
                                                    CO Bar No. 31251
                                                    Assistant United States Attorney
                                                    United States Attorney’s Office, Detailee
                                                    1801 California Street, Suite 1600
                                                    Denver, CO 80202
                                                    Telephone: 720-281-1611
                                                    Zachary.phillips@usdoj.gov




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